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                             IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF MISSOURI


ACUITY, A MUTUAL INSURANCE
COMPANY

                    Plaintiff,

v.                                                              Case No: 4:24-cv-01277

LORA PROPERTY INVESTMENTS, LLC
et Al.

                    Defendants.



            DEFENDANT WOMBAT ACQUISITIONS, LLC’S MOTION TO DISMISS FOR
                         FAILURE TO STATE A CLAIM

           COMES NOW Defendant Wombat Acquisitions, LLC (“Wombat”), by and through their

undersigned attorney, and for their Motion to Dismiss pursuant to Rule 12(b)(6)1, states and

alleges as follows:

      1. Defendant Acuity, A Mutual Insurance Company’s (“Acuity”) Amended Complaint

           asserts requests declaratory relief concerning an insurance policy. [Doc. 9]

      2. Defendant Acuity’s contention is that the policy at issue contains the following provision:

                    COMMON POLICY CONDITIONS
                    All Coverage Parts included in the policy are subject to the
                    following
                    conditions.
                    [...]
                    F. TRANSFER OF YOUR RIGHTS AND DUTIES UNDER
                    THIS POLICY
                    Your rights and duties under this policy may not be transferred
                    without our written consent [...].
                    [...]



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    Defendant Wombat sought leave by consent to file its responsive pleading within 30 days on October 17, 2024.

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             [Doc. 9 at 3-4, ¶ 16]

  3. Plaintiff Acuity asserts that a covered loss occurred at a property located at 4501 Gustine

     Avenue on or around January 20, 2024 following a roof collapse. [Doc. 9 at 4, ¶¶17-18].

  4. Following said loss, on or around June 11, 2024, Plaintiff Acuity asserts that Defendant

     Lora Property entered into a written agreement with Defendant Wombat that purported to

     assign all rights, titles and interests to the insurance benefits held by Riverdale

     Packaging, including the Policy and Claim, to Wombat Acquisitions.

  5. Under Missouri law, the typical rule is that language in an insurance policy prohibiting an

     assignment without the assent of the issuing company is enforceable. See e.g. Smith v.

     R.B. Jones of St. Louis, Inc., 672 S.W.2d 185, 186 (Mo. App. E.D. 1984).

  6. However, an exception to that rule occurs when an insured makes an assignment after a

     loss has occurred. Bowden v. Am. Mod. Home Ins. Co., 658 S.W.3d 86, 92 (Mo. Ct. App.

     2022) (internal citations omitted). Missouri law deems such a post loss assignment of

     benefits to not violate any policy provision purporting to limit the same because the loss

     has already been fixed. Id.

  7. Defendant Wombat incorporates by reference its Memorandum of Law in Support of its

     Motion to Dismiss for Failure to State a claim, attached to this Motion as Exhibit 1.

  WHEREFORE, Defendant Wombat Acquisitions LLC prays the Court enter judgement in its

  favor, dismissing with prejudice Plaintiff Acuity, A Mutual Insurance Company’s claims,

  and for such further relief as may be just and proper under the premises.




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                                                RESPECTFULLY SUBMITTED,

                                                       OTT LAW FIRM

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                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the foregoing was
served on all parties of record by operation of the Court’s electronic case filing and case
management system on this 18th Day of November, 2024.

                                                       /s/ Joseph A. Ott




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